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 6                              UNITED STATES DISTRICT COURT

 7                                      DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                         ) 2:16-CR-030-JAD-(CWH)
                                                     )
 9                         Plaintiff,                )
                                                     )
10          v.                                       ) Preliminary Order of Forfeiture
                                                     )
11 FAUSTO CRUZ-OCHOA,                                )
                                                     )
12                         Defendant.                )
13          This Court finds that defendant Fausto Cruz-Ochoa pled guilty to Count One of a

14 Seventeen-Count Indictment charging him with Conspiracy to Distribute and Possess with Intent

15 to Distribute at least 100 Grams of a Mixture and Substance Containing a Detectable Amount of

16 Heroin in violation of Title 21, United States Code, Sections 841(a)(1) and 846. Indictment,

17 ECF No. 54; Change of Plea, ECF No. 104; Plea Agreement, ECF No. 106.

18          This Court finds defendant Fausto Cruz-Ochoa agreed to the forfeiture of the property

19 and the imposition of the in personam criminal forfeiture money judgment set forth in the Plea

20 Agreement, the Amended Bill of Particulars, and the Forfeiture Allegation of the Indictment.

21 Indictment, ECF No. 54; Amended Bill of Particulars, ECF No. 95; Change of Plea, ECF No.

22 104; Plea Agreement, ECF No. 106.

23          This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

24 America has shown the requisite nexus between property set forth in the Plea Agreement, the

25 Amended Bill of Particulars, and the Forfeiture Allegation of the Indictment and the offenses to

26 which defendant Fausto Cruz-Ochoa pled guilty.
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 1           The following money judgment and assets are (1) any property constituting, or derived

 2 from, any proceeds obtained, directly or indirectly, as the result of violations of Title 21, United

 3 States Code, Section 841(a)(1) and Title 21, United States Code, Section 846 and (2) any

 4 property used, or intended to be used, in any manner or part, to commit, or to facilitate the

 5 commission of violations of Title 21, United States Code, Section 841(a)(1) and Title 21, United

 6 States Code, Section 846, and is subject to forfeiture pursuant to Title 21, United States Code,

 7 Section 853(a)(1), (a)(2), and (p).

 8                   1. $22,700; and

 9                   2. $5,189

10 (all of which constitutes property)

11           and an in personam criminal forfeiture money judgment of $206,016, held jointly and

12 severally liable with any codefendants, and that the property will not be applied toward the

13 payment of the money judgment.

14           This Court finds the United States of America is now entitled to, and should, reduce the

15 aforementioned property to the possession of the United States of America.

16           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that

17 the United States of America should seize the aforementioned property.

18           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the United States

19 recover from Fausto Cruz-Ochoa an in personam criminal forfeiture money judgment of

20 $206,016.

21           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest

22 of Fausto Cruz-Ochoa in the aforementioned property is forfeited and is vested in the United

23 States of America and shall be safely held by the United States of America until further order of

24 the Court.

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 1           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of

 2 America shall publish for at least thirty (30) consecutive days on the official internet government

 3 forfeiture website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited

 4 property, state the time under the applicable statute when a petition contesting the forfeiture must

 5 be filed, and state the name and contact information for the government attorney to be served

 6 with the petition, pursuant to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code,

 7 Section 853(n)(2).

 8           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual or

 9 entity who claims an interest in the aforementioned property must file a petition for a hearing to

10 adjudicate the validity of the petitioner’s alleged interest in the property, which petition shall be

11 signed by the petitioner under penalty of perjury pursuant to Title 21, United States Code,

12 Section 853(n)(3) and Title 28, United States Code, Section 1746, and shall set forth the nature

13 and extent of the petitioner’s right, title, or interest in the forfeited property and any additional

14 facts supporting the petitioner’s petition and the relief sought.

15           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be

16 filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101, no

17 later than thirty (30) days after the notice is sent or, if direct notice was not sent, no later than

18 sixty (60) days after the first day of the publication on the official internet government forfeiture

19 site, www.forfeiture.gov.

20           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if

21 any, shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at

22 the following address at the time of filing:

23                   Daniel D. Hollingsworth
                     Assistant United States Attorney
24                   501 Las Vegas Boulevard South, Suite 1100
                     Las Vegas, Nevada 89101.
25 / / /

26 / / /




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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described

 2 herein need not be published in the event a Declaration of Forfeiture is issued by the appropriate

 3 agency following publication of notice of seizure and intent to administratively forfeit the above-

 4 described property.

 5          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send copies

 6 of this Order to all counsel of record and three certified copies to the United States Attorney’s

 7 Office, Attention Asset Forfeiture Unit.

 8          DATED this 12 day of August, 2016.

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11                                                UNITED STATES DISTRICT JUDGE
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 1                                    PROOF OF SERVICE

 2        A copy of the foregoing was served upon counsel of record via Electronic Filing on

 3 August 12, 2016.

 4                                                            /s/ Heidi L. Skillin
                                                             HEIDI L. SKILLIN
 5                                                           FSA Paralegal
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